86 F.3d 1149
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Richard Lamar FENSTERMACHER, Plaintiff-Appellant,v.L.W. JARVIS, Assistant Warden;  C.N. Lewis, Major;  D.R.Guillory, Warden;  Loretta Kelley, Assistant Warden;  DonnaAnderson;  V. Washington;  I.T. Gilmore, Captain;  C.E.Dunmoodie, Captain;  R.W. Rowlette, Lieutenant, Defendants-Appellees.
    No. 96-6087.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 16, 1996.Decided:  June 4, 1996.
    
      Richard Lamar Fenstermacher, Appellant Pro Se.  Lance Bradford Leggitt, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, VA, for Appellees.
      Before RUSSELL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the magistrate judge's order* denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the magistrate judge's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the magistrate judge.   Fenstermacher v. Jarvis, No. CA-95-25 (E.D.Va. Dec. 6, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         The parties consented to disposition of this case by a magistrate judge pursuant to 28 U.S.C.A. § 636(c) (West 1993)
      
    
    